427 F.3d 285
    Douglas SPECTOR, et al., Plaintiffs-Appellants,v.NORWEGIAN CRUISE LINE LTD., doing business as Norwegian Cruise Line, Defendant-Appellee.Douglas Spector, et al., Defendants-Appellees,v.Norwegian Cruise Line Ltd., doing business as Norwegian Cruise Line, Plaintiff-Appellant.
    No. 02-21154.
    No. 03-20056.
    United States Court of Appeals, Fifth Circuit.
    September 29, 2005.
    
      Sandra Krider, Brady Edwards, Edwards, Burns &amp; Braziel, William H. Bruckner, Elaine B. Roberts, Bruckner Burch, Houston, TX, for Doug and Ana Spector, Hollenbeck Killough and Peters.
      Thomas Howard Wilson, Michael James Muskat, Vinson &amp; Elkins, Houston, TX, for Norwegian Cruise Line, Ltd.
      Marie K. McElderry, Dennis J. Dimsey, Deputy Chief, App. Sec., U.S. Dept. of Justice, Civ. Rights Div., Washington, DC, for U.S., Amicus Curiae.
      Appeal from the United States District Court for the Southern District of Texas; John D. Rainey, Judge.
      
        ORDER ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
      
      Before REAVLEY, JONES and CLEMENT, Circuit Judges.
      PER CURIAM:
    
    
      1
      On remand from the Supreme Court, this court requested letters from counsel advising whether this court should decide the remaining issues or should remand to the district court for further proceedings. Responding to the request, counsel for Norwegian Cruise Line raised for the first time fact-based mootness and standing issues that are contested by counsel for Douglas Spector, et al. To properly address these jurisdictional issues and, if appropriate, the remaining issues in the case, we must remand. In doing so, we note only that the district court's original basis for denying relief — the Government's failure to promulgate uniform physical accessibility guidelines for cruise ships — has not been eliminated by the Supreme Court's decision as at least a factor in the liability determination.
    
    
      2
      REMANDED.
    
    